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                                                                       2021 Dec-15 PM 10:37
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION


EVAN MILLIGAN, et al.,

           Plaintiffs,
                                           No. 2:21-cv-01530-AMM
           vs.

JOHN H. MERRILL, et al.,

           Defendants.




                 DECLARATION OF SCOTT DOUGLAS
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                   DECLARATION OF SCOTT DOUGLAS

I, Scott Douglas, hereby declare as follows:

      1.     I am over the age of 21 and the testimony set forth in this Declaration

is based on firsthand knowledge, information, and belief about which I could and

would testify competently in open court if called upon to do so.

      2.     I am the Executive Director of Greater Birmingham Ministries

(“GBM”).

      3.     GBM was founded in 1969 in response to the challenges posed by the

mid-twentieth century Civil Rights movement and its transformative impact in

Birmingham, Alabama, and across the United States. It seeks to address urgent

human rights and social justice needs in the greater Birmingham area. GBM is a

multi-faith, multi-racial, non-profit membership organization that provides

emergency services to people in need and engages people to build a strong,

supportive, engaged community and a more just society for all people.

      4.     GBM is dedicated to advancing social justice through political

participation across Alabama. It actively opposes state laws, policies, and practices

that result in the exclusion of vulnerable groups or individuals from the democratic

process. Toward that end, GBM regularly communicates with its members and

works to register, educate, and increase voter turnout and efficacy, particularly

among Black, Latinx, and low-income people and people with disabilities.
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      5.     GBM has around 5,000 individual members located primarily

throughout the greater Birmingham, Alabama area, including Jefferson County and

Shelby County. GBM also has members in other areas of Alabama including Mobile,

Tuscaloosa, Montgomery, and Madison Counties. Most GBM members are Black

registered voters.

      6.     Members of GBM include Black registered voters who would reside in

a remedial second majority-Black district under any of the plans I understand have

been proposed by Plaintiffs in this case.

      7.     GBM also has members who are registered voters who live and vote in

congressional districts (“CD”) 1, 2, 3, and 7, which are being challenged in this case.

      8.     For example, Presdelane Harris is a GBM member who identifies as

Black and resides in Montgomery County, Alabama. She is a U.S. citizen and is a

lawfully registered voter who resides in CD 2. Under any of Plaintiffs’ remedial

plans, Ms. Harris would reside in a second majority-Black district.

      9.     Alice Paris is a GBM member who identifies as Black and resides in

Macon County, Alabama. She is a U.S. citizen and is a lawfully registered voter who

resides in CD 3. Under any of Plaintiffs’ remedial plans, Ms. Paris would reside in

a second majority-Black district.




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      10.    Ronald Truss is a GBM member who identifies as Black and resides in

Jefferson County, Alabama. He is a U.S. citizen and is a lawfully registered voter

who resides in CD 7.

      11.    Frank Barragan is a GBM member who identifies as Latino and resides

in Mobile County, Alabama. He is a U.S. citizen and is a lawfully registered voter

who resides in CD 1.

I declare under penalty of perjury that the foregoing is true and correct.


Executed on December 15, 2021, in Birmingham, Alabama.


                                                     _______________________
                                                     Scott Douglas




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